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                                                                     August 26, 2022

       VIA ECF

       Hon. Tonianne J. Bongiovanni, U.S.M.J.
       Clarkson S. Fisher Building and U.S. Courthouse
       402 East State Street
       Trenton, New Jersey 08608

                            Re: AC&S Asbestos Settlement Trust, et al. v. Aldrich Pump LLC et al.
                                Case No.: 3-22-cv-05116

       Dear Judge Bongiovanni:

              We represent interested party Verus Claims Services, LLC (“Verus”) in this matter. On
       August 19, 2022, Verus filed its Motion to Quash Subpoena and to Stay (ECF Doc. No. 5). The
       motion is returnable before Your Honor on September 19, 2022.

              As described in the letter of Lynda A. Bennett, Esq. (ECF Doc. No. 9) filed yesterday on
       behalf of the Trusts, the United States Court of Appeals for the Third Circuit has now issued its
       opinion in the matter of In re Bestwall LLC, No. 21-2263. A copy of the Court of Appeals’ opinion
       was enclosed with Ms. Bennett’s letter.

              In light of the Bestwall decision, Verus hereby withdraws the portion of its motion
       requesting a stay of this matter pending disposition of that appeal. However, Verus maintains its
       request that this Court quash or modify the subpoena at issue. As with the Trusts, Verus will
       address the effect of Bestwall on the substance of Verus’s motion to quash in its reply brief.

                We thank the Court for its time and attention to this matter.


                                                                 Respectfully submitted,


                                                                 Andrew E. Anselmi
       cc: all counsel of record (via ECF)



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